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      SubChapter V Trustee
  4
  5                       IN THE UNITED STATES BANKRUPTCY COURT

  6                                FOR THE DISTRICT OF ARIZONA

  7   In re:                                                In Proceedings Under Chapter 11
  8   SUNLIGHT RIVER CROSSING, LLC                          Case No. 3:21-bk-04364-BKM
  9                           Debtor.                       MOTION FOR AN ORDER UNDER
                                                            BANKRUPTCY CODE §§ 105(a)
 10                                                         AND 363 AUTHORIZING THE
                                                            SALE OF DEBTOR’S REAL AND
 11                                                         PERSONAL PROPERTY FREE AND
                                                            CLEAR OF LIENS, CLAIMS,
 12                                                         ENCUMBRANCES, AND
                                                            INTERESTS; and,
 13                                                         REQUEST FOR EXPEDITED
                                                            HEARING ON SALE AND BID
 14                                                         PROCEDURES
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                 I, Joseph E. Cotterman, the Subchapter V Trustee appointed in the case captioned
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      above, pursuant to 11 U.S.C. §§ 105(a) and 363 of the United States Bankruptcy Code,
 17
      and Rule 6004 of the Federal Rules of Bankruptcy Procedure, hereby request that the
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      Court enter an order authorizing the sale of debtor Sunlight River Crossing’s (“SRC”) real
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      and personal property (including, but not limited to, furniture and art) located at 700 North
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      Page Springs Road in Cornville, Arizona (the “Property”), free and clear of all liens,
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      claims, encumbrances, and interests, to the highest and best bidder as approved by the
 22
      Court after appropriate marketing of the Property, with all liens to attach to the proceeds
 23
      of sale with the same priority and validity as they attached to the Property (hereinafter the
 24
      “363 Sale”).
 25
                 In connection with the 363 Sale, I also request a preliminary expedited hearing for
 26
      the Court to consider and approve notice, bidding and sale procedures. For ease of
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      reference, the portion of this Motion seeking authority to pursue a 363 Sale is referred to
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  1   as the “Sale Request”; the portion of this Motion seeking approval of notice, bidding, and
  2   sales procedures is referred to as the “Procedures Request”. In support of the Sale
  3   Request and Procedures Request, I submit the following:
  4                                         JURISDICTION
  5              1.   On June 4, 2021 (the “Petition Date”), SRC filed a voluntary petition for
  6   relief under chapter 11 of the Bankruptcy Code, and elected to proceed as a small business
  7   debtor under Subchapter V of Chapter 11. Initially, SRC operated its own business as
  8   debtor-in-possession pursuant to §1184.
  9              2.   On August 11, 2022 at ECF docket number 234, the Court entered its
 10   Minute Entry Order removing SRC as debtor in possession, and expanding my role,
 11   authority, and duties in this case pursuant to §1183(b)(5) (the “Trustee Order”).
 12              3.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.
 13   The Sale Request and Procedures Request presented in this Motion constitute a core
 14   proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N), and (O).
 15              4.   Venue is proper in this Court pursuant to 28 U.S.C. § 1408 and 1409.
 16              5.   The statutory bases for the relief requested herein are §§ 105(a), 363 and
 17   365 of the Bankruptcy Code.
 18              THE FACTUAL BACKGROUND AND PURPOSE OF THIS MOTION
 19              6.   As noted above, SRC filed its petition on June 4, 2021.
 20              7.   On September 2, 2021, SRC filed its Chapter 11 Small Business Subchapter
 21   V Plan at ECF docket number 48 (the “First Plan”).
 22              8.   The primary secured creditor in this case, 988, LLC ("988") and SRC have
 23   been locked in an intractable cycle of litigation in this case, as reflected in ECF docket
 24   numbers 44 (988’s request for a 2004 examination of SRC’s principal); 55 (988’s request
 25   for document production under 2004); 57 (SRC’s application for a 2004 examination of
 26   988’s principal); 63 (988’s objection to SRC’s First Plan); 86 (SRC’s 2004 request to
 27   depose Farshid Paydar); 88 (988’s request for an order directing me to investigate SRC);
 28   91 (988’s request for a 2004 examination of Heidi Nordlund); 95 (my limited joinder in
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  1   the motion directing an investigation of SRC; 97 (SRC’s response to 988’s motion
  2   directing an investigation of SRC); 103 (the Order granting 988’ motion and directing me
  3   to investigate SRC); 110 (SRC’s request for a 2004 examination of Larry Nevitt); 112
  4   (SRC’s request for a 2004 examination of Russ Lyon, LLC); 130 (988’s motion to
  5   convert, dismiss, or remove debtor in possession (hereinafter the “988 Motion”)); 138
  6   (SRC’s response to the 988 Motion); 139 (my statement regarding court-ordered
  7   investigation of SRC); 142 (988’s reply in support of the 988 Motion); and, various
  8   docket entries reflecting the procedural and evidentiary proceedings and other filings
  9   regarding the 988 Motion, including ECF docket numbers 147, 161, 166, 179, 186, 197,
 10   207, 210, 211, 214, 215, 216, 217, and 233.
 11              9.    In addition to the foregoing, the Court has been forced to address SRC’s
 12   engagement and payment of various professionals without seeking prior approval of either
 13   their compensation or employment. See, ECF dockets number 172-174 (attorney Tony
 14   Collum); 183-185 (Jade accounting); 188-194 (Sefton Engineering) 218-224 (entries
 15   related to the foregoing applications); 233 hearing on the foregoing applications).
 16              10.   As noted above, on August 11, 2022, the Court entered the Trustee Order
 17   removing SRC as debtor in possession and expanding my role, authority, and duties in this
 18   case pursuant to §1183(b)(5).
 19              11.   At various hearings, most recently the status hearing held August 23, 2022
 20   (ECF docket number 241), counsel for SRC has informed the Court that SRC will be
 21   filing an amended plan. While I believe an amended plan will be filed prior to the
 22   October 25th status hearing, as of the date of this Motion, no amended plan has yet been
 23   filed.
 24              12.   Currently, the approved, or incurred but not yet approved, administrative
 25   expenses in this case exceed $225,000 – approximately $112,000 in approved fees to the
 26   Allen, Barnes firm (ECF docket 72, )1; approximately $62,000 in approved fees to SRC’s
 27
      1
       Allen, Barnes’ approved fees were higher than this figure, which represents approved
 28   but unpaid fees as related by Mr. Allen in response to my inquiry.
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  1   current counsel, plus fees incurred and accruing since July 1, 2022; approximately
  2   $16,500 in fees to Sonoran Capital Advisors, portions of which are either approved, or
  3   incurred but not yet approved (ECF docket 252); plus approximately $40,000 in my
  4   incurred and accruing, but not yet approved, fees.
  5              13.    In addition to the escalating administrative expenses, I have been informed
  6   that the attorneys fees which 988 has incurred to date, which I believe 988 will assert as a
  7   portion of its secured claim pursuant to §506(b), exceed $300,000, which includes
  8   services rendered both before and after this bankruptcy filing.
  9              14.    SRC’s schedules list the value of the Property, which is SRC’s primary
 10   asset, as $2,590,000. Based on information I have received from informal research
 11   through online sources and from knowledgeable real estate professionals, I have not
 12   received any credible information that supports the foregoing figure. I believe the value
 13   of the Property is more likely less than $2,000,000. 988 has informed me that it has
 14   received an appraisal of the Property indicating that the value is only $1,760,000, a value
 15   that would render this estate already administratively insolvent.
 16              15.    Pursuant to 11 U.S.C. §1189(a), only SRC can file a plan in this case.
 17                                   The Reasons For The Sale Request
 18              The parties in this case are locked in an intractable cycle of litigation which has
 19   caused both administrative expenses and 988’s secured claim to skyrocket while the value
 20   of the Property is impacted by an Arizona real estate market that is at best softening, and
 21   at worst, depreciating.2 Moreover, as I have reported in past hearings, the monthly
 22   revenue reflected in SRC’s monthly operating reports, is not sufficient to service or satisfy
 23   2
        Local and national news sources now regularly report stories similar to those found at
 24   the following links: https://www.azfamily.com/2022/06/22/arizonas-hot-housing-market-
      is-cooling-quickly/; https://www.newsweek.com/housing-market-real-estate-mortgage-
 25   phoenix-arizona-interest-1722144; and,
 26   https://www.washingtonpost.com/business/2022/07/09/housing-market-slowdown-
      mortgage-rates/. While the foregoing are far from precise and focused indicators of the
 27   Property’s value, I believe they accurately report a general trend that puts downward
      pressure on the Property’s value.
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  1   those obligations through regular distributions under a plan of reorganization.
  2              I believe the escalation of administrative expenses and 988’s secured claim will
  3   continue to negatively impact the debt/equity equation in this case, especially considering
  4   that SRC is expected to soon file an amended plan that I believe will give rise to
  5   confirmation objections and a new round of significant litigation which will almost
  6   certainly culminate in a protracted and expensive evidentiary hearing. Finally, based on
  7   my discussions with SRC’s principal and counsel to date, I have serious concerns as to
  8   whether SRC even can propose an amended plan that is economically feasible based on
  9   the current status of administrative expenses and secured claims (not to mention the sum
 10   total of those expenses by the time the Court adjudicates confirmation of any plan yet to
 11   be filed).
 12              Section 1189 provides that only a debtor may file a plan in a Subchapter V case.
 13   At various times during the proceedings on the 988 Motion (which concluded on June 14,
 14   2022) SRC’s counsel represented on the record that SRC would be filing an amended plan
 15   after the 988 Motion was resolved. This Motion comes some two months after the date
 16   the Court entered the Trustee Order, and SRC has yet to file an amended plan. 3
 17              I believe a 363 Sale is my only realistic option to advance this case toward a final
 18   resolution and administration of SRC’s estate that is in the best interest of the estate and
 19   all creditors. If this Motion is granted, I will inform potential renters of the Property about
 20   the marketing and sale process and the potential impact thereof on their rental
 21   reservations. To minimize the prejudicial delay to both SRC’s estate and its creditors, I
 22   request that the Court initially set a hearing on as expedited a timeline as the Court deems
 23   appropriate, to consider and authorize a 363 Sale, and to approve the Procedures Request.
 24   As explained below, if the Court authorizes a 363 Sale, at a later date I will seek a hearing
 25   to request approval of any sale offer submitted to the Court or any higher and better offer
 26   3
       In fairness, SRC has had discussions with both me and 988 about proposals for the terms
 27   of an amended plan. My statements herein should not be construed to imply that SRC has
      completely disregarded its promise to file an amended plan. However, in the final
 28   analysis, no amended plan is on file, which stalls the progress of this case.
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  1   made at such hearing (the “Sale Hearing”).
  2                                  Liens Claimed Against SRC’s Assets
  3              There are only two creditors who assert liens against SRC’s assets: i) 988; and, ii)
  4   the Yavapai County Treasurer. Based on my discussions with 988, I believe it will assert
  5   a secured claim that currently approaches, and possibly even exceeds, $1,800,000. I
  6   believe the Yavapai County Treasurer’s claim is less than $15,000.
  7              If 988's appraisal is accurate, the estate is already administratively insolvent, and I
  8   believe that insolvency will deepen as this case moves forward. Unfortunately, under the
  9   circumstances of this case, I believe a sale of the Property will best remedy that deepening
 10   insolvency.
 11                                         THE SALE REQUEST
 12              In connection with the Sale Request, preliminarily I request that the Court enter an
 13   order authorizing me to market the Property for sale on the terms and procedure set forth
 14   herein. Unlike many 363 Sales, I seek authority to pursue a sale process that will not
 15   initially involve a stalking horse bidder. . 4 I believe SRC’s estate will best be served by
 16   marketing the Property for an adequate period of time 5 at a fair market price to be set after
 17   consultation with real estate professionals engaged for the purpose of marketing and
 18   selling the Property.6 Should those marketing efforts result in a cash offer, I will seek a
 19   Sale Hearing to approve the 363 Sale of the Property based on that (or any higher and
 20   better) offer; and, I will provide notice of any such Sale Hearing date, the details of the
 21   cash offer (essentially using it as a stalking horse bid), and any sale and bidding
 22   procedures approved by the Court, which are discussed below.
 23                                  Authority For The Sale of the Property
 24              Bankruptcy Code § 363(b)(1), provides that the "trustee, after notice and a hearing,
 25   may use, sell, or lease, other than in the ordinary course of business, property of the
 26   4
      5
 27    I am requesting a marketing period of 75 days.
      6
       In connection with this Motion, I intend to file an application to employ such real estate
 28   professionals.
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  1   estate…" 11 U.S.C. § 363(b)(1). Although §363 does not set forth a standard for
  2   determining when it is appropriate for a court to authorize the sale or disposition of estate
  3   assets, courts have uniformly held that approval of a proposed sale of property under
  4   §363(b) is appropriate if the transaction is supported by sound business judgment. See
  5   Committee of Equity Securityholders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063
  6   (2d Cir. 1983); see also In re Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (D.Del.
  7   1991); Stephens Indus. V. McClung, 789 F.2d 386, 398-90 (6th Cir. 1986).
  8              Courts have traditionally applied four factors in determining whether a sound
  9   business justification exists to authorize the sale of assets outside of the ordinary course:
 10   (i) whether a sound business reason exists for the proposed transaction; (ii) whether fair
 11   and reasonable consideration is being provided; (iii) whether the transaction has been
 12   proposed and negotiated in good faith; and (iv) whether adequate and reasonable notice is
 13   provided. See In re Delaware & Hudson Ry. Co., 123 B.R. at 175 (adopting the Lionel
 14   factors in determining whether sound business purpose exists for sale outside ordinary
 15   course of business).
 16              I believe there is a sound business reason justifying a prompt sale of the Property.
 17   In summary, my options for administering this case to a conclusion are: i) a sale of the
 18   Property as described herein; ii) conversion of this case, which would either result in a
 19   similar sale of the Property or stay relief that would benefit 988 but no other party in
 20   interest; or, iii) a stay relief stipulation with 988, which again would not benefit the estate
 21   or creditors beyond 988. I cannot propose a Plan, and SRC has not yet done so. More
 22   importantly, I have serious concerns about whether SRC has the financial means to
 23   consummate any otherwise confirmable reorganization plan.
 24              The other Delaware factors discussed above (fair and reasonable consideration,
 25   good faith, and adequate notice) will come into play if and when the marketing of the
 26   Property produces a cash offer that is presented to the Court for approval at a Sale
 27   Hearing. Most relevant at this preliminary stage, I believe there is a realistic likelihood
 28   that the Property may sell for a price that exceeds the current encumbrances against it,
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  1   thereby providing funds for distribution to secured, administrative and unsecured
  2   claimants. However, as explained above, the likelihood of surplus proceeds from any
  3   such sale becomes less likely by the day.
  4              Bankruptcy Code § 363(f) authorizes a trustee to sell property under section 363(b)
  5   "free and clear of any interest in such property of an entity other than the estate" if at least
  6   one of the following conditions is satisfied:
             (1)     applicable nonbankruptcy law permits the sale of such property free and
  7
                     clear of such interest;
  8
                 (2)    such entity consents;
  9
 10          (3)     such interest is a lien and the price at which such property is to be sold is
      greater than the aggregate value of all liens on such property;
 11
                 (4)    such interest is in bona fide dispute; or
 12
 13         (5)    such entity could be compelled, in a legal or equitable proceeding, to accept
      a money satisfaction of such interest.
 14
      11 U.S.C. § § 363(f)(1) – (f)(5).
 15
                 Here, several of the statutory predicates apply: state law, specifically Arizona’s real
 16
      property foreclosure statutes, would permit the sale of the property free and clear of liens
 17
      (§363(f)(1))7; upon information and belief, 988 and the Yavapai County Treasurer will
 18
      consent to the sale requested herein provided the sale price is adequate to satisfy their
 19
      liens (§363(f)(2)); realistically, the sale price may exceed the amount of liens on the
 20
      Property (§363(f)(3)); and, lienholders could be compelled to accept a money satisfaction
 21
      of their liens in various legal or equitable proceedings (§363(f)(5)).
 22
                                    Determination of Good Faith Purchaser
 23
                 Section 363(m) of the Bankruptcy Code provides that the reversal or modification
 24
      on appeal of an order approving a sale under sections 363(b) or (c) does not affect the
 25
      validity of a sale to an entity that purchased property in good faith, whether or not it knew
 26
      of the appeal, unless the sale was stayed pending appeal. If the Court approves a
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 28   7
          With, of course, the proceeds of such a sale going first to lienholders.
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  1   successful bid at any sale hearing, if appropriate I will ask the Court to determine that the
  2   successful bidder is a good faith purchaser entitled to the protection of section 363(m).
  3              In summary, as to the Sale Request I request that the Court enter an Order
  4   authorizing me to market the Property for sale on the terms and procedure set forth herein.
  5   Should those marketing efforts result in a cash offer, I will request a Sale Hearing to
  6   approve the 363 Sale of the Property based on that, or any higher and better offer, again in
  7   connection with the Procedures Request discussed below.
  8                                  THE PROCEDURES REQUEST
  9              I also request that the Court enter an Order establishing the following procedures
 10   and parameters for marketing the Property, submission of bids to purchase the Property,
 11   and for the conduct of any Sale Hearing the Court may subsequently set if marketing the
 12   Property results in cash bids worthy of submission to the Court for approval:
 13              A.     Assets to be Purchased. The sale will include the Property, including all the
 14   real and personal property located at 700 North Page Springs Road in Cornville, AZ. The
 15   Property will be sold to the party who submits the highest and best offer in accordance
 16   with the bid procedures discussed below.
 17              B.     Excluded Assets. Only the Property will be sold. The 363 Sale will not
 18   include SRC’s bank accounts, any causes of action that might be available to SRC, or any
 19   other property. If the purchaser elects to utilize the Property as a vacation rental and
 20   maintains future reservations, customer contracts and corresponding customer deposits
 21   will be assigned and transferred to the purchaser.8
 22              C.     Liabilities Assumed. Unless expressly agreed to by the purchaser, no
 23   liabilities will be assumed in connection with the 363 Sale of the Property.
 24              D.     Purchase Price. After consultation with real estate professionals engaged
 25   for the purpose of marketing and selling the Property, it will be marketed for a price
 26   calculated to be commensurate with its fair market value in the prevailing market. If those
 27
      8
       If necessary, I will seek authority from the Court to assume and assign those customer
 28   contracts and deposits.
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  1   marketing efforts result in a cash offer, I will request a Sale Hearing for the Court to
  2   consider and approve the offer or any higher and better offers. I will provide notice of the
  3   offer, any Sale Hearing set by the Court, and the solicitation of higher and better offers, to
  4   potential competing bidders and all parties in interest in this case. All bidders other than
  5   988 will be required to post a refundable bidding deposit of $10,000.
  6              E.   Sale Terms. The 363 Sale will be a cash sale (with the exception of 988),
  7   “as is, where is” with no representations or warranties of any kind by SRC or the
  8   Subchapter V Trustee, with no carryback financing or contingencies, and the required
  9   closing date will be no later than 15 business days after the Court approves a 363 Sale at
 10   the highest and best bid submitted at or before the Sale Hearing. In regard to any such
 11   363 Sale, 988 shall have the right to credit bid up to the amount of its allowed secured
 12   claim pursuant to §363(k). Except as otherwise agreed to by the successful bidder
 13   approved by the Court (hereinafter, the “Purchaser”), the 363 Sale of the Property will be
 14   free and clear of liens, encumbrances, charges, claims and interests of every kind and
 15   description, with any and all such liens, encumbrances, charges, claims and interests to
 16   attach to the proceeds of the sale in accordance with the Bankruptcy Code and otherwise
 17   applicable law.
 18              F.   Termination Rights. Except for a stalking horse bid, all offers or bids may
 19   be withdrawn at any time prior to approval of the 363 Sale for the highest and best bid by
 20   the Court. I reserve the right to cancel the 363 Sale process and withdraw this Motion at
 21   any time prior to the Court’s final approval of the highest and best bid/offer.
 22              G.   Stalking Horse Bid. Any stalking horse bid shall be irrevocable, and
 23   binding and enforceable against the stalking horse bidder, subject only to the receipt of a
 24   higher and better bid, and the approval of the Court. No break-up fee will be paid. In
 25   order to induce any initial cash bidder to expend the time, energy and resources necessary
 26   to submit an attractive stalking horse bid, subject to request to and approval by the Court,
 27   I may offer any stalking horse bidder reimbursement of reasonable expenses incurred in
 28   the course of formulating and submitting a stalking horse bid, not to exceed $7,500.
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  1              H.     Bid Requirements. Except as provided below, any person who wishes to
  2   participate in the bidding process must deliver to me, including through any real estate
  3   professional engaged to market the Property, the following no later than five days prior to
  4   any Sale Hearing the Court sets (not to include the date of the Sale Hearing itself):
  5              i.     A signed purchase agreement, the form of which will be drafted in
  6                     cooperation with any real estate professional the Court approves and the
  7                     estate engages in connection with the marketing and sale of the Property;
  8              ii.    A proposal reflecting the amount of their cash offer, which must confirm
  9                     that the bid is a cash bid with no conditions or contingencies other than
 10                     Court approval, and committing to pay the bid in full and close the
 11                     transaction within 15 business days after the Court approves such bid as the
 12                     highest and best offer for the Property;
 13              iii.   Written evidence of a commitment for financing or other evidence of
 14                     adequate financial means to consummate a sale at the amount of the
 15                     proposed bid;
 16              iv.    A refundable $10,000 deposit in the form of a certified bank check from a
 17                     U.S. bank or by wire transfer (or other form I deem acceptable) payable to
 18                     Sunlight River Crossing, LLC, which will be refunded to all unsuccessful
 19                     bidders after the Court approves the highest and best bid/offer for the
 20                     Property.
 21              v.     A bid will be considered only if the bid is unconditional, including without
 22                     limitation, any financing contingency, any due diligence contingency, and
 23                     any break-up or termination fee contingencies.
 24   A bid meeting all of the foregoing requirements shall be considered a "Qualified Bid." A
 25   bidder who has satisfied all of the foregoing requirements shall be considered a "Qualified
 26   Bidder." 988 shall be deemed a Qualified Bidder, and shall be exempt from the
 27   requirements set forth above except as set forth in section H(v).
 28              I.     Due Diligence. I will afford all potential bidders access to the Property.
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  1   Potential bidders will otherwise be responsible to conduct their own due diligence
  2   regarding the Property.
  3              J.          Bid Deadline. Other than a bid by 988, all Qualified Bids must be made no
  4   later than five days prior to any Sale Hearing the Court may set to consider the highest
  5   and best offer for the Property and to approve any such sale.
  6              K.          Conduct of Sale Hearing. If I receive a cash offer for the Property that I
  7   believe justifies the Court’s consideration, I will request that the Court set a Sale Hearing
  8   to conduct an auction of the Property upon notice to all bidders who have submitted bids,
  9   to all parties in interest in this case, and to all other third parties that I determine may be
 10   reasonably likely to be interested and have the financial ability to participate in an auction.
 11   I request that the parameters for any bids made at the Sale Hearing be limited as follows:
 12                     i.      Only a Qualified Bidder will be entitled to make a
 13                             subsequent overbid at the auction hearing;
 14                    ii.      All Qualified Bidders will be entitled to be present at the
 15                             auction hearing with the understanding that the identity of
 16                             each Qualified Bidder will be fully disclosed to all other
 17                             Qualified Bidders and that all material terms of each
 18                             subsequent overbid will be fully disclosed to all other
 19                             Qualified Bidders throughout the entire auction hearing.
 20                   iii.      The auction hearing will be subject to any other procedural
 21                             rules the Court deems reasonable and may impose either in
 22                             advance of, or during, the auction hearing, including but
 23                             not limited to the amount of time allotted to make
 24                             subsequent overbids.
 25                   iv.       Bidding at the Sale Hearing will begin with the highest
 26                             Qualified Bid submitted in advance of the hearing, and
 27                             continue in minimum increments of at least $25,000 higher
 28                             than the previous bid. The auction will continue in one or
                                                           12
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  1                           more rounds of bidding and will conclude after each
  2                           Qualified Bidder has had the opportunity to submit
  3                           subsequent bids and the highest and best bid is chosen.
  4                   v.      The second-highest and best bid designated by the Court at
  5                           the Sale Hearing will be offered the opportunity to commit
  6                           to a "backup bid," and to be deemed the successful bidder
  7                           in the event the initially successful bidder holding the
  8                           highest and best bid fails to close the sale transaction. The
  9                           backup bidder's bid will be a binding commitment in the
 10                           same manner as the successful, highest and best bid,
 11                           contingent only upon the holder of the highest and best bid
 12                           failing to close the transaction within 15 business days
 13                           after Court approval.
 14              L.        Selection Of Successful Bid. At the conclusion of the auction conducted at
 15   the Sale Hearing the Court will identify the highest and best offer for the Property and the
 16   bidder making such bid (the “Successful Bidder”), and in the Court’s discretion, approve
 17   the sale of the Property to the Successful Bidder in the amount of the successful bid.
 18   Upon Court approval, the Successful Bidder’s bid will be irrevocable. The Property will
 19   be sold to the Successful Bidder for the amount of the successful bid approved by the
 20   Court at the Sale Hearing.
 21              M.        Request For Sale Hearing. The Sale Hearing will be held on a date and time
 22   set by the Court after subsequent request if the initial marketing of the Property results in
 23   a stalking horse cash offer that justifies the Court’s consideration. If I do not receive any
 24   fair market value offers for the Property within 75 days after the Court approves the
 25   Procedures Request, I will not request a Sale Hearing, I will report the lack of bids to the
 26   Bankruptcy Court, and in that event I intend to withdraw (without prejudice) this request
 27   to sell the Property.
 28                                                   CONCLUSION
                                                        13
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  1              For all the foregoing reasons, I request that the Court set a hearing at the earliest
  2   opportunity to:
  3              i)     Consider and enter an Order approving the Sale Request herein, specifically,
  4                     to authorize me to market the Property for sale for a period of 75 days, and
  5                     if such marketing efforts result in a cash offer, to request a hearing to
  6                     approve the sale of the Property based on that cash offer or any higher and
  7                     better offer; and,
  8              ii)    Consider and approve the Procedures Request set forth herein as it relates to
  9                     the process for marketing and selling the Property.
 10              I believe that expedited consideration of the foregoing is justified based on the
 11   escalating administrative and litigation expenses described herein, along with the receding
 12   market conditions that negatively impact the value of the Property.
 13              RESPECTFULLY SUBMITTED October 24, 2022.
 14
 15                                                      By: /s/ Joseph E. Cotterman
 16                                                         Joseph E. Cotterman
                                                            5232 West Oraibi Drive
 17                                                         Glendale, Arizona 85308
 18                                                         SubChapter V Trustee

 19
      Filed on October 24, 2022, via the Court’s CM/ECF filing system
 20   and a copy of the foregoing emailed this same date to:

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